           Case 2:11-cv-00458-RAJ Document 10 Filed 03/24/11 Page 1 of 6




 1                                                                                Honorable Richard Jones

 2   WILLIAM RUTZICK WSBA #11533
     JANET L. RICE
 3
     SCHROETER GOLDMARK & BENDER
 4   810 Third Avenue, Suite 500
     Seattle, WA 98104
 5   (206) 622 8000
     Attorneys for Plaintiffs
 6

 7

 8                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 9                                      AT SEATTLE
10   LOLA and MICHAEL BOUCHARD, wife
     and husband                                       No. 2:11-cv-00458RAJ
11
                           Plaintiffs,
12          v.                                         DECLARATION OF WILLIAM
                                                       RUTZICK IN SUPPORT OF
13   CBS CORPORATION, et al.,                          PLAINTIFFS’ MOTION TO REMAND                                      .




                                      Defendants.
14

15

16             The undersigned declares under penalty of perjury under the laws of the State of

17   Washington as follows:
18             1.    I am one of the attorneys representing the Plaintiffs in the above entitled
19
     action and competent to make the following statements:
20
               2.    Attached hereto as Exhibit 1 is a true and correct copy of Defendant Lockheed
21
     Shipbuilding Company’s Answer to Supplemental Complaint for Personal Injury in this
22

23   matter.

24             3.    Attached hereto as Exhibit 2 is a true and correct copy of excerpts from

25   Defendant Lockheed Shipbuilding Company’s First Set of Interrogatories and Requests for
26
     Production to Plaintiffs and Answers Thereto in this matter.



     DECLARATION OF WILLIAM RUTZICK IN SUPPORT             SCHROETER, GOLDMARK & BENDER
                                                           500 Central Building ● 810 Third Avenue ● Seattle, WA 98104
     OF PLAINTIFFS’ MOTION TO REMAND − 1                           Phone (206) 622-8000 ● Fax (206) 682-2305
          Case 2:11-cv-00458-RAJ Document 10 Filed 03/24/11 Page 2 of 6




 1          4.     Attached hereto as Exhibit 3 is a true and correct copy of excerpts from the

 2   deposition of Martin Lewis Ingwersen in Kinsman v. Foster-Wheeler Energy Corporation, et
 3
     al., Superior Court of King County, Washington, Cause No. 01-2-09967-1SEA, taken August
 4
     27, 2001.
 5
            5.     Attached hereto as Exhibit 4 is a true and correct copy of excerpts from the
 6
     deposition of Michael Ray Harris in Arnold v. Saberhagen Holdings, Inc., et al., Superior
 7

 8   Court of Pierce County, Washington, Cause No. 08-2-11077-5, taken December 2, 2008.

 9          6.     Attached hereto as Exhibit 5 is a true and correct copy of excerpts from the
10   deposition of Carl Mangold in Kinsman v. Foster-Wheeler Energy Corporation, et al., in
11
     Superior Court of King County, Washington, Cause No. 01-2-09967-1SEA, taken October
12
     16, 2001.
13
            7.     Attached hereto as Exhibit 6 is a true and correct copy of a certified copy of
14

15   Order in Ireton v. Kaiser Ventures LLC, et al., Cause No. C03-2840RBL in the United States

16   District Court Western District of Washington, dated December 3, 2003.

17          8.     Attached hereto as Exhibit 7 is a true and correct copy of excerpts of Title 41
18   – Public Contracts and Property Management from the Federal Register, Vol. 34, No. 96 –
19
     Tuesday, May 20, 1969.
20
            9.     Attached hereto as Exhibit 8 is a true and correct copy of excerpts of Title 29
21
     – Labor from the Federal Register, Vol. 36, No. 105 – Saturday, May 29, 1971.
22

23          10.    Attached hereto as Exhibit 9 is a true and correct copy of excerpts of Title 29

24   – Labor from the Federal Register, Vol. 37, No. 110 – Wednesday, June 7, 1972.

25          11.    Attached hereto as Exhibit 10 is a true and correct copy of excerpts of Title 20
26
     – Labor from the Federal Register, Vol. 36, No. 234 – Tuesday, December 7, 1971.



     DECLARATION OF WILLIAM RUTZICK IN SUPPORT            SCHROETER, GOLDMARK & BENDER
                                                           500 Central Building ● 810 Third Avenue ● Seattle, WA 98104
     OF PLAINTIFFS’ MOTION TO REMAND − 2                           Phone (206) 622-8000 ● Fax (206) 682-2305
            Case 2:11-cv-00458-RAJ Document 10 Filed 03/24/11 Page 3 of 6




 1            12.   Attached hereto as Exhibit 11 is a true and correct copy of excerpts from the

 2   Affidavit of Samuel A. Forman, M.D. dated January 15, 2009 from Morgan v. AGCO
 3
     Corpoation, et al., Superior Court of King County, Washington Cause No. 07-2-28464-8
 4
     SEA.
 5
              13.   Attached hereto as Exhibit 12 is a true and correct copy of correspondence
 6
     from Supervisor of Shipbuilding, USN, to Lockheed Shipbuilding & Construction Co.,
 7

 8   Seattle, dated May 12, 1969 regarding Shipyard Practices in Combating the Hazards

 9   Attending the Use of Insulating Materials.
10            14.   Attached hereto as Exhibit 13 is a true and correct copy of excerpts of
11
     documents produced by defendant Lockheed in Kinsman V. Foster-Wheeler Energy Corp., et
12
     al., King County Cause No. 01-2-09967-1SEA on September 6, 2001, numbered SEA-
13
     90842-0003 to 0010.
14

15            15.   Attached hereto as Exhibit 14 is a true and correct copy of excerpts from the

16   deposition Robert Barnes taken on March 16, 2011 in this matter.

17            16.   Attached hereto as Exhibit 15 is a true and correct copy of Westbrook v.
18   Asbestos Defendants (BHC), No. C-0101661 VRW, 2001 WL 902642 (N.D.Cal.)(July 31,
19
     2001).
20
              17.   Attached hereto as Exhibit 16 is a true and correct copy of Zink v. Rapid-
21
     American Corporation, et al., U.S.Dist.Ct., Cause No. C99-0964L (W. Wash. 1999).
22

23            18.   Attached hereto as Exhibit 17 is a true and correct copy of excerpts of the

24   deposition of David Ludden, taken on February 22, 2011 in this matter.

25   ///
26
     ///



     DECLARATION OF WILLIAM RUTZICK IN SUPPORT            SCHROETER, GOLDMARK & BENDER
                                                          500 Central Building ● 810 Third Avenue ● Seattle, WA 98104
     OF PLAINTIFFS’ MOTION TO REMAND − 3                          Phone (206) 622-8000 ● Fax (206) 682-2305
           Case 2:11-cv-00458-RAJ Document 10 Filed 03/24/11 Page 4 of 6




 1          I declare under penalty of perjury under the laws of the state of Washington that the

 2   foregoing is true and correct.
 3
            DATED at Seattle, Washington, this 24th day of March, 2011.
 4

 5
                                                   s/ William Rutzick
 6                                                 WILLIAM RUTZICK, WSBA #11533
                                                   Counsel for Plaintiffs
 7
                                                   SCHROETER, GOLDMARK & BENDER
 8                                                 810 Third Avenue, Suite 500
                                                   Seattle, WA 98104
 9                                                 Phone: (206) 622-8000
                                                   Fax: (206) 682-2305
10                                                 Email: rutzick@sgb-law.com
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26




     DECLARATION OF WILLIAM RUTZICK IN SUPPORT           SCHROETER, GOLDMARK & BENDER
                                                          500 Central Building ● 810 Third Avenue ● Seattle, WA 98104
     OF PLAINTIFFS’ MOTION TO REMAND − 4                          Phone (206) 622-8000 ● Fax (206) 682-2305
          Case 2:11-cv-00458-RAJ Document 10 Filed 03/24/11 Page 5 of 6




 1
                                      CERTIFICATE OF SERVICE
 2
            I hereby certify that on March 24, 2011, I electronically filed the foregoing
 3
     Declaration of William Rutzick in Support of Plaintiffs’ Motion to Remand with the Clerk of
 4
     the Court using the CM/ECF system which will send notification of such filing to the
 5
     following:
 6
      Counsel for CSK Auto                         Counsel for Todd Shipyards
 7    Stephen Leatham                              KARR TUTTLE CAMPBELL
      HEURLIN & POTTER                             Walter Barton
 8    211 East McLoughlin Blvd., Suite 100
      Vancouver, WA 98666-0611                     Gene Barton
 9                                                 1201 Third Avenue, Suite 2900
                                                   Seattle, Washington 98101-3028
10    Counsel for General Refractories Co.         Counsel for Georgia Pacific
      Mathew Turetsky                              Barry Mesher/Brian Zeringer/Bruce Hamlin
11    Schwabe Williamson & Wyatt, PC               LANE POWELL PC
      1420 Fith Avenue, Suite 3010                 1420 Fifth Avenue, Suite 4100
12
      Seattle, WA 98101-2393                       Seattle, Washington 98101-2338
13    Counsel for Metropolitan Life Insurance Counsel for J.T. Thorpe & Son, Inc.;
14    Co.                                      Metalclad Insulation Corp
      Richard Gawlowski                        Katherine M. Steele
15    WILSON, SMITH, COCHRAN & DICKERSON       STAFFORD FREY COOPER, PC
      1215 Fourth Avenue, Suite 1700           3100 Two Union Square
16    Seattle, Washington 98161-1007           601 Union Street
                                               Seattle, WA 98101
17
      Counsel for Union Carbide; Saint Gobain Counsel for Saberhagen Holdings, Inc.
18    Containers Inc                           Randy Aliment /Timothy Thorson
      Diane Kero                               CARNEY, BADLEY, SMITH &
19    GORDON, THOMAS, HONEYWELL,               SPELLMAN
      MALANCA, PETERSON & DAHEIM               701 Fifth Avenue, Suite 3600
20    600 University Street, Suite 2101        Seattle, Washington 98104-7010
      Seattle, Washington 98101
21
      Counsel for Foster-Wheeler Energy Corp.; Counsel for International Paper Co.
22    Hopeman Brothers, Inc.                   Steve Rizzo
      Dirk Bernhardt                           RIZZO MATTINGLY BOSWORTH, PC
23    MURRAY, DUNHAM & MURRAY                  411 SW 2nd Avenue, Suite 200
      200 West Thomas, Suite 350               Portland, Oregon 97204
24    Seattle, WA 98119
25

26




     DECLARATION OF WILLIAM RUTZICK IN SUPPORT           SCHROETER, GOLDMARK & BENDER
                                                          500 Central Building ● 810 Third Avenue ● Seattle, WA 98104
     OF PLAINTIFFS’ MOTION TO REMAND − 5                          Phone (206) 622-8000 ● Fax (206) 682-2305
          Case 2:11-cv-00458-RAJ Document 10 Filed 03/24/11 Page 6 of 6




 1    Counsel for Lockheed Shipbuilding Co           Counsel for E & E Lumber, Inc. a
      Robert Andre.                                  Washington Corp.
 2    OGDEN MURPHY WALLACE, PLLC                     Jan Brucker
      1601 Fifth Avenue, Suite 2100                  Jackson Jenkins & Renstrom, LLP
 3
      Seattle, Washington 98101                      701 Fifth Ave., 42nd Floor,
 4                                                   Seattle, WA 98104

 5            I further certify that I served the foregoing on attorney of record for E & E Lumber,

 6   Inc. a Washington Corporation by having said copies sent via legal messenger, electronic
 7
     mail, U.S. Mail and/or Federal Express to the office addresses below to the office address
 8
     below:
 9
                               Counsel for E & E Lumber, Inc. a
10                             Washington Corporation
                               Ronald G. Housh, P.S.
11
                               Seattle Office:
12                             800 Fifth Avenue, Suite 4000
                               Seattle, WA 98104-3180
13

14                                                SCHROETER, GOLDMARK & BENDER
15

16                                                /s/William Rutzick
                                                  William Rutzick
17                                                Counsel for Plaintiff
                                                  810 Third Avenue, Suite 500
18                                                Seattle, Washington 98104
19                                                (206) 622-8000
                                                  (206) 682-2305
20                                                E-mail: rutzick@sgb-law.com

21

22

23

24

25

26




     DECLARATION OF WILLIAM RUTZICK IN SUPPORT             SCHROETER, GOLDMARK & BENDER
                                                            500 Central Building ● 810 Third Avenue ● Seattle, WA 98104
     OF PLAINTIFFS’ MOTION TO REMAND − 6                            Phone (206) 622-8000 ● Fax (206) 682-2305
